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 8

 9                                IN THE UNITED STATES DISTRICT COURT

10                                   EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                            CASE NO. 1:19-CR-00015-DAD-BAM
12
                                   Plaintiff,
13
                            v.                            SEALING REQUEST AND ORDER
14
     MARIA LUISA MORENO,
15
                                  Defendant.
16

17
            The United States of America, by and through its counsel of record, hereby moves to seal the
18
     attached exhibits to its Response in Opposition to Defendants’ Motion to Revoke Order of Detention
19
     (Doc. 231), as they contain portions of the discovery in this case, which is subject to a protective order
20
     for good cause entered pursuant to Federal Rule of Criminal Procedure 16(d). (Doc. 74).
21

22
      Dated: March 22, 2019                                   MCGREGOR W. SCOTT
23                                                            United States Attorney

24
                                                       By: /s/ LAURA D. WITHERS
25                                                         LAURA D. WITHERS
                                                           KAREN A. ESCOBAR
26                                                         Assistant United States Attorney

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          Case 1:19-cr-00015-DAD-BAM Document 232 Filed 03/25/19 Page 2 of 2

 1                                                ORDER

 2          Having reviewed the motion of the United States consistent with the previously-entered

 3 protective order (Doc. 74) in this case, and for good cause shown,

 4
     IT IS SO ORDERED.
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 6 Dated:     March 25, 2019                                   /s/   Sheila K. Oberto            .
                                                     UNITED STATES MAGISTRATE JUDGE
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